                                                                                 ORDER:
                                                                                 Motion granted.

                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE SECTION                               U.S. Magistrate Judge



UNITED STATES OF AMERICA                       ]
                                               ]
VS.                                            ]       CRIM. CASE NO. 2:11-CR-00002
                                               ]       JUDGE KNOWLES
SAMUEL HEDGECOTH                               ]




            MOTION TO MODIFY CONDITIONS OF PRE-TRIAL RELEASE



       Comes now the Defendant, through counsel, and moves this Honorable Court to modify

the terms and conditions of the Defendant’s pre-trial release as follows:

       The Defendant is prohibited from having any contact with any of the co-defendants in this

case. Spike Hedgecoth is the Defendant’s father and a co-defendant. The Defendant requests to

provide a power of attorney document to Spike Hedgecoth’s attorney, Mr. Sumter Camp, have

Mr. Camp present the document to Spike Hedgecoth for signature, and then Mr. Camp will

return the signed document to the Defendant. The Defendant needs the power of attorney

document to complete repairs on Spike Hedgecoth’s home and to rent the property.

       The Defendant is prohibited from leaving the middle district of Tennessee without his

pre-trial release officer’s permission. The Defendant’s pre-trial release officer advises that

permission will have to come from the Court. The Defendant wishes to travel to the Eastern

District of Tennessee, including Rhea County where some of his children reside, and to Knox

County, where has an opportunity for employment.




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